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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Eternity Mart, Inc.
                               Plaintiff,
v.                                               Case No.: 1:19−cv−02436
                                                 Honorable Franklin U. Valderrama
Nature's Sources, LLC
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, April 15, 2022:


        MINUTE entry before the Honorable Franklin U. Valderrama: The Court grants
Defendant's Motion for Leave to File Under Seal [139]. The Court also sets the following
briefing schedule on Defendant's Motion for Summary Judgment [145] and Plaintiff's
Motion for Summary Judgment [140]: responses are due 05/06/2022 and replies are due
05/20/2022. Additionally, the Court notes that the parties have improperly filed
documents that are not motions [141] [142] [143] as motions. The Court terminates these
documents as motions. Mailed notice (axc).




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